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                       UNITED STATES DISTRICT COURT FOR THE
                              DISTRICT OF MINNESOTA


_________________________________
In re: Baycol Products Litigation

UNITED STATES OF AMERICA ex rel.
LAURIE SIMPSON,                                          Honorable Michael J. Davis
                                                         United States District Court Judge

                               Plaintiff,

          v.

                                                         MDL No. 1431
BAYER HEALTHCARE                                         Civil No. 08-5758(MJD)(SER)
PHARMACEUTICALS, INC.;
BAYER CORP.; and
BAYER A.G.,

                  Defendants.
_________________________________

                                   JOINT STATUS REPORT

          In accordance with the Court’s January 18, 2019 Order (ECF No. 178), Relator Laurie

Simpson (“Relator”) and Defendants Bayer Healthcare Pharmaceuticals, Inc., Bayer Corp., and

Bayer A.G. (“Bayer”) (together, the “Parties”), respectfully submit the following joint status

report.

          Since the last Joint Status Report on June 18, 2019, the Parties have continued to make

progress regarding discovery in this matter. On June 29, 2019, Bayer provided Relator with a

replacement copy of one of the CDs from the Baycol MDL Production. The Parties have also been

meeting and conferring regarding the custodians, search terms, and date cutoff that Bayer will use

to respond to Relator’s Second Request for Production of Documents. The Parties have exchanged

draft proposals and expect to reach agreement before the next Joint Status Report.



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       At this time, the Parties do not believe that there are any discovery issues that require the

Court’s intervention. The Parties are available if the Court wishes to discuss the status of discovery

at the conference scheduled for July 23, 2019. However, in light of the foregoing, the Parties

believe that the status conference may be postponed until August 27, 2019.



  Dated: July 16, 2019


   Respectfully submitted,                              Respectfully submitted,

   KESSLER TOPAZ                                        BARTLIT BECK HERMAN
   MELTZER & CHECK LLP                                  PALENCHAR & SCOTT LLP
   /s/ Asher Alavi                                      /s/ Adam Hoeflich

   Asher Alavi                                          Philip S. Beck
   aalavi@ktmc.com                                      Adam Hoeflich
   David Bocian                                         54 W. Hubbard Street, Suite 300
   dbocian@ktmc.com                                     Chicago, IL 60603
   280 King of Prussia Road                             (312) 494-4400
   Radnor, PA 19087
   (484) 270-1402                                       SIDLEY AUSTIN LLP
                                                        /s/ Kristin Graham Koehler
                                                        Kristin Graham Koehler (pro hac vice)
                                                        kkoehler@sidley.com
   Counsel for Relator Laurie Simpson                   Ryan C. Morris (pro hac vice)
                                                        rmorris@sidley.com
                                                        Joshua J. Fougere (pro hac vice)
                                                        jfougere@sidley.com
                                                        Matthew J. Letten (pro hac vice)
                                                        mletten@sidley.com
                                                        1501 K Street, N.W.
                                                        Washington, D.C. 20005
                                                        (202) 736-8000




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                                     DORSEY & WHITNEY LLP
                                     /s/ John Marti
                                     John Marti (#0388393)
                                     marti.john@dorsey.com
                                     Alex P. Hontos (#0388355)
                                     hontos.alex@dorsey.com
                                     Caitlin L.D. Hull (#0398394)
                                     hull.caitlin@dorsey.com
                                     50 South Sixth Street, Suite 1500
                                     Minneapolis, MN 55402
                                     (612) 340-2600

                                     Counsel for Defendants Bayer
                                     Corporation, Bayer AG, and
                                     Bayer Healthcare Pharmaceuticals, Inc.




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                              CERTIFICATE OF SERVICE

      I certify that on July 16, 2019, the foregoing document was served this day on all counsel

of record via CM/ECF.


                                   /s/ Caitlin L.D. Hull




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